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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                               CRIMINAL ACTION

VERSUS                                                                 NO. 10-204

GERARD DUGUE                                                           SECTION "N" (1)

                                     ORDER AND REASONS

               Presently before the Court is Defendant Gerard Dugue's "Motion to Call Barbara

Bernstein as a Witness and to Recuse her as Lead Attorney for the Government in any Re-Trial of

this Matter" (Rec. Doc. 782). With this motion, Defendant maintains that he should be allowed to

call Ms. Bernstein as a witness in connection with the charge of making false statements in a matter

within the jurisdiction of the Federal Bureau of Investigation (FBI), in violation of 18 U.S.C. § 1001,

that has been filed against him. Specifically, the Government alleges that statements made by

Defendant during a January 23, 2009 interview with the FBI were later contradicted by statements

that he made during the course of a September 29, 2009 interview with Ms. Bernstein, FBI Special

Agent Bill Bezak, another agent, and another prosecution attorney.

               During Defendant's first trial, testimony by Special Agent Bezak confirmed that the

seven-hour September 2009 interview unfortunately was not taped and that no verbatim notes of the

interview were taken by any of the interview participants. Because Special Agent Bezak's testimony

also revealed that Ms. Bernstein was the lead interviewer, asking "the bulk of the questions,"

Defendant contends that Ms. Bernstein is a material witness regarding statements made during the
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September 2009 interview and that he should be allowed to elicit her testimony during any re-trial

in this matter.

                  As the parties recognize in their supporting and opposing submissions, calling a

prosecuting attorney as a witness generally requires that the person be disqualified from serving as

counsel for the government for the matter. Accordingly, a government prosecutor may be a witness

only when a "compelling need" exists for his or her testimony. See, e.g., United States v. Manners,

Criminal Action No. 05-220, 2006 WL 3026110, *3 (N.D. Tex. Oct. 25, 2005))(discussing cases).

                  On the showing made, the Court finds that Defendant has not demonstrated that a

compelling need exists for the testimony of Ms. Bernstein, who served as lead government counsel

in Defendant's first trial, the separate trial of the other five defendants held in this matter, and all

pre-trial proceedings. Significantly, as the Government's opposition points out, another investigator

and another prosecutor,1 in addition to Special Agent Bezak and Ms. Bernstein, were present during

the interview in question. Thus, even if Ms. Bernstein led the interview by asking most of the

questions, that does not mean that the other two participants did not hear the questions and

Defendant's answers, such that one or both of them could provide testimony without requiring

recusal of lead government counsel. Accordingly, for the foregoing reasons, IT IS ORDERED

that Defendant's motion is DENIED.

                  New Orleans, Louisiana, this 25th day of April 2012.




                                                       KURT D. ENGELHARDT
                                                       UNITED STATES DISTRICT JUDGE


        1
                  Neither party's submission to the Court includes the names of these persons.


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